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                                                                EFILED Document
 DISTRICT COURT, COUNTY OF JEFFERSON,                           CO Jefferson County District Court 1st JD
                                                                Filing Date: Mar 9 2007 3:58PM MST
 STATE OF COLORADO                                              Filing ID: 14080450
                                                                Review Clerk: Lori G
 100 Jefferson County Parkway,
 Golden, CO 80401
 (303) 271-6145
 Plaintiff:
 DUANE ROBERTSON


 v.


 Defendants:
 THE AVATAR GROUP, INC., an Ohio corporation;
 INTELLINETICS, INC., an Ohio corporation; A.
 MICHAEL CHRETIEN, individually; MATTHEW L.                     Ÿ COURT USE ONLY Ÿ
 CHRETIEN, individually



 Counsel for Plaintiff
 Philip W. Bledsoe, No. 33606
 Nicole A. Westbrook, No. 34310                              Case No.:
 Shughart Thomson & Kilroy, P.C.
 1050 Seventeenth Street, Suite 2300                         Div:
 Denver, CO 80265
 (303) 572-9300

                                          SUMMONS

 THE PEOPLE OF THE STATE OF COLORADO

 TO THE DEFENDANT NAMED ABOVE: MATTHEW L. CHRETIEN

         You are summoned and required to file with the Clerk of this Court an answer or other
 response to the attached Complaint within twenty (20) days after this Summons is served on you
 in the State of Colorado, or within thirty (30) days after this Summons is served on you outside
 the State of Colorado.

         If you fail to file your answer or other response to the Complaint in writing within the
 applicable time period, judgment by default may be entered against you by the Court for the
 relief demanded in the Complaint, without any further notice to you.



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       The following documents are also served with this Summons: Civil Cover Sheet and
 Complaint.

 DATED: March 9, 2007.
                                        Respectfully submitted,

                                        SHUGHART THOMSON & KILROY, P.C.


                                        __                          ____________
                                        Philip W. Bledsoe, No. 33606
                                        Nicole A. Westbrook, No. 34310
                                        Attorneys for Plaintiff




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